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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE


ACA CONNECTS – AMERICA’S
COMMUNICATIONS ASSOCIATION;

CTIA – THE WIRELESS ASSOCIATION®;

NCTA – THE INTERNET & TELEVISION
ASSOCIATION; and

USTELECOM – THE BROADBAND
ASSOCIATION,

                       Plaintiffs,

       v.                                              Civil Action No. 1:20-cv-00055-LEW

AARON FREY, in his official capacity as
Attorney General of the State of Maine,

                       Defendant.


             JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiffs ACA Connects –

America’s Communications Association, CTIA – The Wireless Association®, NCTA – The

Internet & Television Association, and USTelecom – The Broadband Association and Defendant

Attorney General Aaron Frey, by and through their respective counsel, hereby stipulate to the

dismissal of this action without prejudice.




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 Dated: September 2, 2022                      Respectfully submitted,




                                               By /s/ Jonathan P. Hunter
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 Dated: September 2, 2022                 Respectfully submitted,



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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this date, I electronically filed the foregoing document entitled Joint

Stipulation of Dismissal Without Prejudice via the Court’s CM/ECF system, which will serve a

copy of same upon all counsel of record.




Dated: September 2, 2022                                              /s/ Jonathan P. Hunter
                                                                      Jonathan P. Hunter, Esq.
